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 1   [Counsel on signature page]
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11                              UNITED STATES DISTRICT COURT

12                         NORTHERN DISTRICT OF CALIFORNIA

13                                 SAN FRANCISCO DIVISION
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15   IN RE OPENAI CHATGPT LITIGATION
                                                   Master File No. 3:23-cv-03223-AMO
16   �is document relates to:
                                                   PLAINTIFFS’ ADMINISTRATIVE
17   Case No. 3:23-cv-03223-AMO                    MOTION TO CONSIDER WHETHER
     Case No. 4:23-cv-03416-AMO                    ANOTHER PARTY’S MATERIAL
18   Case No. 4:23-cv-04625-AMO                    SHOULD BE SEALED

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      Master File No. 3:23-cv-03223-AMO
           PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL
                                           SHOULD BE SEALED
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 1          Pursuant to Civil Local Rules 7-11 and 79-5(f) and the Protective Order entered by this Court,

 2   Plaintiffs respectfully submit this Administrative Motion to Consider Whether Another Party’s Material

 3   Should Be Sealed in connection with the Joint Discovery Dispute Letter attached hereto. Specifically, the

 4   document subject to this Administrative Motion includes the following:

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 6    Document                            Portions of Document to be Sealed      Party Claiming Confidentiality
 7    Joint Discovery Dispute Letter      Highlighted portions on Pages 1–5      OpenAI, Inc.
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 9          In compliance with its Protective Order obligations and the Civil Local Rules of this District,
10   Plaintiffs are submitting under seal, along with this Administration Motion, an unredacted copy of the
11   document referenced in the table above pursuant to Civil Local Rule 79-5(d). Plaintiffs understand that
12   OpenAI, Inc., as the Designating Party, will submit a declaration under Civil Local Rule 79-5(f)(3) stating
13   the applicable legal standard and the reasons for keeping the identified material under seal.
14          Plaintiffs’ position is that not a single statement that OpenAI is requiring them to file under seal
15   remotely meets the sealing standard. See Order, Kadrey v. Meta Platforms, Inc., No. 23-cv-03417, Jan. 8,
16   2025, ECF No. 373. (Chhabria, J.) (“Meta’s request is preposterous … It is clear that Meta’s sealing
17   request is not designed to protect against the disclosure of sensitive business information that competitors
18   could use to their advantage.”).
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22     Dated: January 17, 2025                            By:          /s/ Joshua M. Stein
                                                                           Joshua M. Stein
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